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                                UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF SOUTH CAROLINA

IN RE:                                                      CASE NO: 20-02162/W/3
JEREMY MICHAEL CARNATHAN
832 SANDFIELD ROAD                                          (CHAPTER 13)
BLYTHEWOOD, SC 29016
                                                            OBJECTION TO CONFIRMATION OF PLAN




     The Trustee hereby objects to confirmation of the Debtor Plan filed in the above -referenced case on
6/9/2020, on the grounds that it appears that the plan is not feasible pursuant to 11 U.S. C. Sec. 1325 (a)
(6).
     WHEREFORE, the Trustee prays that the Court deny confirmation of Debtor 's Plan filed June 09,
2020, and grant such other and further relief as may be just and proper.



Dated: June 16, 2020
                                                           /s/ William K. Stephenson, Jr.
                                                           WILLIAM K. STEPHENSON, JR., TRUSTEE




                                       CERTIFICATE OF SERVICE
The below signed states that he served the objection to confirmation of plan on the debtor, the attorney for
the debtor, by mailing them, on this date, copies of the objection to confirmation of plan, first class,
postage prepaid, at the address listed in the schedules of the debtor.

Dated: June 16, 2020
                                                     /s/ William K. Stephenson, Jr.
                                                     __________________________
                                                     CHAPTER 13 TRUSTEE'S OFFICE

JEREMY MICHAEL CARNATHAN
832 SANDFIELD ROAD
BLYTHEWOOD, SC 29016




ATTORNEY FOR THE DEBTOR:
MOSS & ASSOCIATES ATTORNEYS PA
816 ELMWOOD AVE
COLUMBIA, SC 29201
